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 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11   STEPHEN TURNER, an individual,           Case No.: 2:23-cv-03684
12              Plaintiff,
                                              COMPLAINT FOR
13        vs.
                                                (1) VIOLATION OF THE UNRUH
14   CARMENITA PLAZA, LLC, a limited
     liability company,                             CIVIL RIGHTS ACT
15                                                  (CALIFORNIA CIVIL CODE
                Defendants.                         §§ 51, 52);
16
                                                (2) VIOLATIONS OF THE
17
                                                    AMERICANS WITH
18                                                  DISABILITIES ACT OF 1990
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                                      COMPLAINT
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 1                                               I.
                                              SUMMARY
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 3           1.    This is a civil rights action by plaintiff Stephen Turner (“Plaintiff”) for
 4   discrimination at the building, structure, facility, complex, property, land,
 5   development, and/or surrounding business complex bearing the legal address of 3
 6   13435 Telegraph Rd, Whittier, CA 90605-3435 (APN: 8157-011-031) (“Property”).
 7   Plaintiff often frequents the area as he lives approximately 10 minutes from the
 8   Property. On this particular occasion, he desired to patronize the Panda Express store
 9   located at the Property.
10           2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
11   and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
12   12101, et seq.) and related California statutes1 against Defendant, the owner
13   CARMENITA PLAZA, LLC, a limited liability company (“Defendant”).
14                                                   II.
15                                         JURISDICTION
16           3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
17   for ADA claims.
18           4.    Supplemental jurisdiction for claims brought under parallel California
19   law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
20   1367.
21           5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
22                                               III.
23                                              VENUE
24           6.    All actions complained of herein take place within the jurisdiction of the
25   United States District Court, Central District of California, and venue is invoked
26   pursuant to 28 U.S.C. § 1391(b), (c).
27
     1
28    Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
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                                              COMPLAINT
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                                                IV.
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                                              PARTIES
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           7.       Defendant is or was at the time of the incident, the owner, operator,
 4
     lessor and/or lessee of the Property, and consists of a person (or persons), firm,
 5
     company, and/or corporation.
 6
           8.       Plaintiff is a paraplegic, and as a result is unable to walk or stand, and
 7
     thus requires a use of a wheelchair at all times when traveling in public. Plaintiff is
 8
     “physically disabled” as defined by all applicable California and United States laws,
 9
     and a member of the public whose rights are protected by these laws. Plaintiff is not a
10
     high frequency litigant as that term is defined under California Code of Civil
11
     Procedure § 425.55(b). In the previous 12 months Plaintiff has followed eight
12
     accessibility lawsuits (not including this one).
13
                                                V.
14
                                                FACTS
15
           9.       On or about April 28, 2023, Plaintiff attempted to patronize the Property.
16
     The Property is a sales or retail establishment, open to the public, which is intended
17
     for nonresidential use and whose operation affects commerce.
18
           10.      Plaintiff visited the Property and encountered barriers (both physical and
19
     intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
20
     enjoy the goods, services, privileges and accommodations offered at the facility. To
21
     the extent known by Plaintiff, the barriers at the Property included, but are not limited
22
     to the following:
23
                 a. There are no accessible signs directing persons with disabilities to
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                    accessible routes and /or accessible entrances. This makes it difficult for
25
                    Plaintiff to determine where to travel to ensure he is not met with
26
                    accessible barriers.
27
                 b. To access the sidewalks, Plaintiff must traverse up a built-up curb ramp
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                    that is too steep. To the extent that the curb ramp is intended to be a
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                                             COMPLAINT
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 1                  ramp, it does not have the necessary railings for Plaintiff to safely
 2                  maneuver up and down.
 3               c. There are an insufficient number of accessible parking spaces serving the
 4                  Property. This makes it difficult for Plaintiff to find an accessible
 5                  parking space when patronizing the stores located at the Property.
 6               d. There are no accessible pedestrian routes connecting the various building
 7                  on the same property site. For example, pathways do not lead to curb
 8                  cuts. Similarly, pathways are too narrow and steep, thus making it
 9                  difficult and dangerous for Plaintiff when traveling throughout the
10                  Property on his wheelchair. For example, tenants have placed outdoor
11                  furniture blocking and narrowing the width of walkways.
12               e. Accessible parking spaces also do not lead to accessible pathways.
13                  Instead, parking spaces require plaintiff to travel through unmarked paths
14                  that do not lead to curb cuts.
15
           11.      These barriers to access are listed without prejudice to Plaintiff citing
16
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
17
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
18
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
19
     Property.
20
           12.      Plaintiff thus experienced difficult, discomfort and embarrassment as a
21
     result of the accessible barriers he encountered. He continues to be deterred from
22
     visiting the Property because of the future threats of injury created by these barriers.
23
     Plaintiff would return to the Property once the barriers are corrected as the Best
24
     Bargain store located at the Property is located within 10 minutes of his residence and
25
     this is a store that Plaintiff would like to patronize. Within 6 months of the correction
26
     or removal of barriers Plaintiff would return to the Property to not only patronize the
27
     store, but also to ensure that the accessible barriers have been properly removed.
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           13.    Defendant knew that these elements and areas of the Property were
 2
     inaccessible, violate state and federal law, and interfere with (or deny) access to the
 3
     physically disabled. Moreover, Defendant has the financial resources to remove these
 4
     barriers from the Property (without much difficult or expense), and make the Property
 5
     accessible to the physically disabled. To date, however, the Defendant refuses to
 6
     remove those barriers.
 7
           14.    At all relevant times, Defendant has possessed and enjoyed sufficient
 8
     control and authority to modify the Property to remove impediments to wheelchair
 9
     access and to comply with the Americans with Disabilities Act Accessibility
10
     Guidelines and Title 24 regulations. Defendant has not removed such impediments
11
     and has not modified the Property to conform to accessibility standards.
12
                                              VI.
13
           FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
14
          INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
15
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
16
                                     CODE SECTION 51(f)
17
           15.    Plaintiff incorporates the allegations contained in paragraphs 1 through
18
     14 for this claim and incorporates them herein.
19
           16.    At all times relevant to this complaint, California Civil Code § 51 has
20
     provided that physically disabled persons are free and equal citizens of the state,
21
     regardless of disability or medical condition:
22
           All persons within the jurisdiction of this state are free and equal, and
23
           no matter what their sex, race, color, religion, ancestry, national
24
           origin, disability, or medical condition are entitled to the full and
25
           equal accommodations, advantages, facilities, privileges, or services
26
           in all business establishments of every kind whatsoever. Cal. Civ.
27
           Code § 51(b).
28
                                                 4
                                           COMPLAINT
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 1
           17.     California Civil Code § 52 provides that the discrimination by Defendant
 2
     against Plaintiff on the basis of his disabilities constitutes a violation of the anti-
 3
     discrimination provisions of §§ 51 and 52.
 4
           18.    Defendant’s discrimination constitutes a separate and distinct violation of
 5
     California Civil Code § 52 which provides that:
 6
           Whoever denies, aids or incites a denial, or makes any discrimination
 7
           or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
 8
           every offense for the actual damages, and any amount that may be
 9
           determined by a jury, or a court sitting without a jury, up to a
10
           maximum of three times the amount of actual damage but in no case
11
           less than four thousand dollars ($4,000) and any attorney’s fees that
12
           may be determined by the court in addition thereto, suffered by any
13
           person denied the rights provided in Section 51, 51.5 or 51.6.
14
           19.    Plaintiff continues to be deterred from visiting the Subject Property based
15
     upon the existence of the accessible barriers. In addition to the instance of deterrence
16
     occurring on April 2023, Plaintiff is entitled to $4,000.00 in statutory damages for
17
     each additional occurrence of discrimination under California Civil Code § 52.
18
           20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
19
     the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
20
     thus independently justifying an award of damages and injunctive relief pursuant to
21
     California law. Per § 51(f), “[a] violation of the right of any individual under the
22
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
23
     section.”
24
           21.    The actions and omissions of Defendant as herein alleged constitute a
25
     denial of access to and use of the described public facilities by physically disabled
26
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
27
     result of Defendant’s action and omissions Defendant has discriminated against
28
                                                   5
                                            COMPLAINT
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 1
     Plaintiff in a violation of Civil Code §§ 51 and 51.
 2
                                               VII.
 3
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
 4
                   DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
 5
           22.    Plaintiff incorporates the allegations contained in paragraphs 1 through
 6
     21 for this claim and incorporates them herein.
 7
           23.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
 8
     Congress passed “Title III – Public Accommodations and Services Operated by
 9
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
10
     entities” which are considered “public accommodations” for purposes of this title,
11
     which includes any “restaurant, bar, or other sales or rental establishment serving food
12
     or drink.” § 301(7)(B).
13
           24.    The ADA states that “[n]o individual shall be discriminated against on
14
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
15
     privileges, advantages, or accommodations of any place of public accommodation by
16
     any person who owns, leases, or leases to, or operates a place of public
17
     accommodation.” 42 U.S.C. § 12182.
18
           25.    The acts and omissions of Defendant set forth herein were in violation of
19
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
20
     Part 36 et seq.
21
           26.    The removal of each of the barriers complained of by Plaintiff as
22
     hereinabove alleged, were at all times herein mentioned "readily achievable" under the
23
     standards §§ 30 l and 302 of the ADA. As noted hereinabove, removal of each and
24
     every one of the architectural barriers complained of herein were also required under
25
     California law. Further, on information and belief, alterations, structural repairs or
26
     additions since January 26, 1993 have also independently triggered requirements for
27
     removal of barriers to access for disabled persons per § 303 of the ADA. In the event
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                                                  6
                                           COMPLAINT
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 1
     that removal of any barrier is found to be "not readily achievable," Defendant still
 2
     violated the ADA, per§ 302(b )(2)(A)(v) by failing to provide all goods, services,
 3
     privileges, advantages and accommodations through alternative methods that were
 4
     readily achievable.
 5
           27.    On information and belief, as of the date of Plaintiff’s encounter at the
 6
     Property and as of the filing of this Complaint, the Defendant has denied and
 7
     continues to deny full and equal access to Plaintiff and to other disabled persons,
 8
     including wheelchair users, in other respects, which violate plaintiff's rights to full and
 9
     equal access and which discriminate against Plaintiff on the basis of his disability,
10
     thus wrongfully denying to plaintiff the full and equal enjoyment of the goods,
11
     services, facilities, privileges, advantages and accommodations, in violation of§§ 302
12
     and 303 of the ADA. 42 USC§§ 12182 and 12183.
13
           28.    On information and belief, Defendant has continued to violate the law
14
     and deny the rights of Plaintiff and other disabled persons to access this public
15
     accommodation since on or before Plaintiff's encounters, as previously noted.
16
     Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
17
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
18
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
19
     in violation of the ADA or has reasonable grounds for believing that he is about to be
20
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
21
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
22
     make such facilities readily accessible to and usable by individuals with disabilities to
23
     the extent required by this title."
24
           29.    Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
25
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
26
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
27
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
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                                                   7
                                            COMPLAINT
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 1
     to discrimination on the basis of disability in violation of Title III and who has
 2
     reasonable grounds for believing he will be subjected to such discrimination each time
 3
     that he may attempt to use the property and premises.
 4

 5
                                               PRAYER
 6
              WHEREFORE, Plaintiff prays that this court award damages and provide relief
 7
     as follows:
 8
           1. Issue a preliminary and permanent injunction directing Defendant as current
 9
     owner, operator, lessor, and/or lessee of the property and premises to modify the
10
     above described property and premises and related facilities so that each provides full
11
     and equal access to all persons, including but not limited to persons with physical
12
     disabilities who use wheelchairs, and issue a preliminary and permanent injunction
13
     directing Defendant to provide and maintain facilities usable by plaintiff and similarly
14
     situated persons with disabilities, and which provide full and equal access, as required
15
     by law, including appropriate changes in policy;
16
           2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
17
     that Defendant’s unlawful policies, practices, acts and omissions, and maintenance of
18
     inaccessible public facilities as complained of herein no longer occur, and can not
19
     recur;
20
           3. Award to Plaintiff all appropriate damages, including but not limited to
21
     statutory damages, general damages and treble damages in amounts within the
22
     jurisdiction of this Court, all according to proof;
23
           4. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
24
     costs of this proceeding as provided by law;
25
           5. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
26
     329;
27

28   ///
                                                   8
                                             COMPLAINT
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 1
       6. Grant such other and further relief as this Court may deem just and proper.
 2

 3                                     ASCENSION LAW GROUP, PC

 4       DATE: May 15, 2023

 5                                                /s/Pamela Tsao

 6                                     Pamela Tsao, attorney for Plaintiff

 7                                           STEPHEN TURNER

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                                        COMPLAINT
